                                  Case 20-11884-KBO                Doc 1         Filed 07/30/20          Page 1 of 21



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                   Chapter     11
                                                                                                                           Check if this an
                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor's name                Tonopah Solar Energy, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed           N/A
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                 Mailing address, if different from principal place of
                                                                                              business

                                  11 Gabbs Pole Line Road
                                  Number          Street                                      Number              Street


                                                                                              P.O. Box

                                   Tonopah, NV 89049
                                  City                State           ZIP Code                City                 State             ZIP Code

                                                                                              Location of principal assets, if different from principal
                                                                                              place of business

                                   Nye
                                  County
                                                                                              Number              Street


                                                                                              P.O. Box

                                                                                               ________________
                                                                                              City                 State             ZIP Code



5.   Debtor's website (URL)         N/A




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                                 Case 20-11884-KBO                      Doc 1         Filed 07/30/20               Page 2 of 21
Debtor    Tonopah Solar Energy, LLC                                                                   Case number (if known)
          Name




6.   Type of debtor                      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify:


7.   Describe debtor's business             A. Check one:
                                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 Railroad (as defined in 11 U.S.C. § 101(44))
                                                 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                 None of the above

                                            B. Check all that apply
                                                Tax-exempt entity (as described in 26 U.S.C. §501)
                                                 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                                 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                               See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2211

8.   Under which chapter of the             Check one:
     Bankruptcy Code is the debtor
                                                 Chapter 7
     filing?
                                                 Chapter 9
     A debtor who is a “small business           Chapter 11. Check all that apply:
     debtor” must check the first
                                                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     sub-box. A debtor as defined in §
                                                                    aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     1182(1) who elects to proceed
                                                                    affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     under subchapter V of chapter 11
                                                                    recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a
                                                                    income tax return or if any of these documents do not exist, follow the procedure in 11
     “small business debtor”) must
                                                                    U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                       less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                       Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                       statement of operations, cash-flow statement, and federal income tax return, or if
                                                                       any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                       A plan is being filed with this petition.
                                                                       Acceptances of the plan were solicited prepetition from one or more classes of
                                                                       creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                       The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                       Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                       Exchange Act of 1934. File the attachment to Voluntary Petition for Non-Individuals Filing
                                                                       for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                       The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                       12b-2.
                                                 Chapter 12




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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                                       Case 20-11884-KBO                Doc 1        Filed 07/30/20             Page 3 of 21
Debtor    Tonopah Solar Energy, LLC                                                                 Case number (if known)
          Name



9.   Were prior bankruptcy cases             No
     filed by or against the debtor
     within the last 8 years?                Yes
     If more than 2 cases, attach a
     separate list.                                District                             When                                 Case number
                                                   District                             When                                 Case number

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                Relationship
                                                   District                                                              When
                                                                                                                                           MM     / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in this        Check all that apply:
    district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                               A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have              No
    possession of any real
    property or personal property            Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                     Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                       Other




                                                   Where is the property?
                                                                                       Number        Street




                                                                                       City                   State                ZIP Code


                                                   Is the property insured?
                                                       No
                                                       Yes       Insurance agency
                                                                 Contact name
                                                                 Phone


          Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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                                   Case 20-11884-KBO                  Doc 1        Filed 07/30/20                Page 4 of 21
Debtor   Tonopah Solar Energy, LLC                                                                 Case number (if known)
         Name




13. Debtor's estimation of               Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                              25,001-50,000
    creditors
                                     50-99                                            5001-10,000                              50,001-100,000
                                     100-199                                          10,001-25,000                            More than 100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                 $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million              More than $50 billion

16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                 $500,000,001 - $1 billion
                                      $50,001 - $100,000                              $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million              More than $50 billion



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
    authorized representative of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    debtor                               petition.

                                         I have been authorized to file this petition on behalf of the debtor.

                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on     07/30/20
                                                         MM / DD / YYYY


                                     X   /s/ Justin D. Pugh                                               Justin D. Pugh
                                         Signature of authorized representative of debtor                 Printed name

                                         Title    Treasurer




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                            Case 20-11884-KBO                      Doc 1      Filed 07/30/20           Page 5 of 21
Debtor   Tonopah Solar Energy, LLC                                                          Case number (if known)
         Name




18. Signature of attorney   X   /s/ Matthew B. Lunn                                                 Date 07/30/20
                                Signature of attorney for debtor                                         MM / DD / YYYY

                                Matthew B. Lunn, Esq.
                                Printed name

                                Young Conaway Stargatt & Taylor, LLP
                                Firm name

                                Rodney Square, 1000 N. King Street
                                Number Street

                                Wilmington                                    Delaware                    19801
                                City                                          State                       Zip Code
                                Contact
                                phone          (302) 571-6600               Email address    mlunn@ycst.com

                                4119                                       Delaware
                                Bar number                                 State




 Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                         page 5
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


         In re:                                                         Chapter 11

         TONOPAH SOLAR ENERGY, LLC,1                                    Case No. 20-________ (____)

                                    Debtor.


                          CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                           AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                            TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                           Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

         Bankruptcy Procedure, Tonopah Solar Energy, LLC, the debtor and debtor in possession in the

         above-captioned case (the “Debtor”), hereby states that it is 100% owned by non-debtor

         Tonopah Solar Energy Holdings II, LLC (with an address of 231 Market Place, Suite 373, San

         Ramon, CA 94583).




         1
           The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
         is as follows: Tonopah Solar Energy, LLC (1316). The Debtor’s headquarters is located at 11 Gabbs Pole Line
         Road, Tonopah, NV 89049.
26322972.3
                                     Case 20-11884-KBO                        Doc 1       Filed 07/30/20              Page 7 of 21


      Fill in this information to Identify the case:

      Debtor Name: TONOPAH SOLAR ENERGY, LLC
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                   amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 20 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,         Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of            (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact                debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                               professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                               services, and         or disputed     setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if       Deduction          Unsecured
                                                                                                                     partially secured     for value of       claim
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       PIC GROUP, INC                      CONTACT: ACCOUNTS                TRADE DEBT                 U                                                       $1,220,714.52
          1165 NORTHCHASE PKWY, STE 400       RECEIVABLE MANAGER
          MARIETTA, GA 30067                  PHONE: 770 850 0100
                                              AR@PICGROUPINC.COM
  2       RYAN MECHANICAL INC                 CONTACT: BRET ANDERSON           TRADE DEBT                 U                                                         $318,932.89
          3335 WYNN ROAD                      PHONE: 702 631 7777
          LAS VEGAS, NV 89102                 BRET@RYAN-
                                              MECHANICAL.COM
  3       DXP ENTERPRISES INC DBA             CONTACT: CARL CIOFFI             TRADE DEBT                 U                                                         $174,771.33
          CORTECH ENGINEERING                 PHONE: 951 415 4540
          PO BOX 1697                         CARL.CIOFFI@DXPE.COM
          HOUSTON, TX 77251-0169
  4       UINTAH MACHINE & MFG CO             CONTACT: ROLAND                  TRADE DEBT                 U                                                         $147,978.23
          521 WEST MAIN - P.O. BOX 8          HAMILTON
          DUCHESNE, UT 84021                  PHONE: 435 738 2453
                                              RFHAMILTON@UINTAHMAC
                                              HINE.COM
  5       NYE COUNTY ASSESSOR - REAL          CONTACT: JOHN PRUDHONT           TAX                        U                                                         $115,558.84
          PROPERTY TAXES                      PHONE: 775 482 8147
          PO BOX 473                          TREASURER@CO.NYE.NV.US
          TONOPAH, NV 89049-0473


  6       DP SYSTEMS, LLC                     CONTACT: ROBERT SCOTT            TRADE DEBT                                                                           $109,979.19
          1919 WEST 2300 SOUTH                LUKS
          WEST VALLEY CITY, UT 84119          PHONE: 702 997 5209
                                              SCOTTL@DPINDUSTRIALINC.
                                              COM




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                          Page 1
                                  Case 20-11884-KBO                  Doc 1       Filed 07/30/20              Page 8 of 21
  Debtor: TONOPAH SOLAR ENERGY, LLC                                                           Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  7     NYE COUNTY ASSESSOR - PERSONAL     CONTACT: MARIE BECHT       TAX                        U                                                         $101,792.10
        PROPERTY TAXES                     PHONE: 775 751 7066
        160 N. FLOYD DRIVE                 MBECHT@CO.NYE.NV.US
        PAHRUMP, NV 89060
  8     FLIPPINS TRENCHING INC.            CONTACT: KEN FLIPPIN       TRADE DEBT                 U                                                           $93,452.54
        2645 MARION DRIVE                  PHONE: 702 643 2211
        LAS VEGAS, NV 89115                KENJR@FLIPPINS.COM
  9     MERTEC ENGINEERING, CMP SALES      CONTACT: JORDAN RICCARDI TRADE DEBT                   U                                                           $92,963.39
        CORPORATION                        PHONE: 909 373 0526
        1232 MONTE VISTA AVE 9             JORDANR@MERTEC.NET
        UPLAND, CA 91786
  10    GENERAL ELECTRIC                   CONTACT: RAYMOND FRANK TRADE DEBT                     U                                                           $77,909.10
        INTERNATIONAL, INC.                PHONE: 713 303 1780
        4200 WILDWOOD PARKWAY              RAYMOND.FRANK@GE.COM
        ATLANTA, GA 30339


  11    BLAIR-MARTIN CO., INC.             CONTACT: WAYNE DEPEW  TRADE DEBT                      U                                                           $77,526.17
        1500 E. BURNETT STREET             PHONE: 562 595 8773
        SIGNAL HILL, CA 90755              WDEPEW@BLAIRMARTIN.CO
                                           M
  12    BAY VALVE SERVICE &                CONTACT: SCOTT SHULTZ      TRADE DEBT                 U                                                           $54,499.43
        ENGINEERING, LLC                   PHONE: 7074487166
        3948 TEAL CT.                      SCOTTS@BAY-VALVE.COM
        BENICIA, CA 94510-1202
  13    NEVADA DEPARTMENT OF            PHONE: 775 684 2000           TAX                        U                                                           $49,853.69
        TAXATION                        NEVADAOLT@TAX.STATE.NV
        1550 COLLEGE PARKWAY, SUITE 115 .US
        CARSON CITY, NV 89706


  14    GE STEAM POWER, INC.               CONTACT: ANDY JOHNSON TRADE DEBT                      U                                                           $31,158.40
        175 ADDISON ROAD                   PHONE: 505 386 6033
        WINDSOR, CT 06095                  ANDREW.JOHNSON1@GE.CO
                                           M
  15    EDWARDS VACUUM, LLC                CONTACT: DOMINIC           TRADE DEBT                 U                                                           $23,480.00
        6416 INDUCON DR                    MINASSIAN
        SANBORN, NY 14132                  PHONE: 626 418 2121
                                           DOMINIC.MINASSIAN@EDW
                                           ARDSVACUUM.COM
  16    SUNBELT RENTALS, INC.              CONTACT: CASEY             TRADE DEBT                                                                             $18,394.44
        P.O. BOX 409211                    COUNTRYMAN
        ATLANTA, GA 30384-9211             PHONE: 916 210 8282
                                           CASEY.COUNTRYMAN@SUN
                                           BELTRENTALS.COM
  17    MSC INDUSTRIAL SUPPLY INC          CONTACT: TERRY STAGGS      TRADE DEBT                 U                                                           $11,740.03
        PO BOX 953635                      PHONE: 813 432 3700
        ST LOUIS, MO 63195                 BRANCHPHX@MSCDIRECT.C
                                           OM
  18    CASHMAN EQUIPMENT COMPANY          CONTACT: JORDAN CLARY      TRADE DEBT                 U                                                            $9,855.33
        3306 ST ROSE PKWY                  PHONE: 775 332 5450
        HENDERSON, NV 89052                JORDANCLARY@CASHMANE
                                           QUIPMENT.COM




Official Form 204     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                    Page 2
                                  Case 20-11884-KBO                  Doc 1       Filed 07/30/20              Page 9 of 21
  Debtor: TONOPAH SOLAR ENERGY, LLC                                                           Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  19    FLOWSERVE CORP                     CONTACT: ROGER CHAVEX      TRADE DEBT                 U                                                            $7,800.00
        1909 E CASHDAN ST                  PHONE: 310 667 4200
        RANCHO DOMINGUEZ, CA 90220         ROCHAVEZ@FLOWSERVE.CO
                                           M
  20    UNITED RENTALS (NORTH              CONTACT: GERALD GRANATA TRADE DEBT                                                                                 $7,658.52
        AMERICA), INC.                     PHONE: 775 359 6660
        FILE 51122                         GGRANATA@UR.COM
        LOS ANGELES, CA 90074-1122




Official Form 204     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                    Page 3
                                   Case 20-11884-KBO                         Doc 1        Filed 07/30/20           Page 10 of 21




 Fill in this information to identify the case:

 Debtor name         Tonopah Solar Energy, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Consolidated Corporate Ownership Statement and List of Equity Security
                                                                           Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          07/30/20                                X /s/ Justin D. Pugh
                                                                      Signature of individual signing on behalf of debtor

                                                                        Justin D. Pugh
                                                                       Printed name

                                                                        Treasurer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy

26333967.1
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                         UNANIMOUS WRITTEN CONSENT
                                      OF THE
                            BOARD OF MANAGERS OF
                         TONOPAH SOLAR ENERGY, LLC
                         A Delaware limited liability company


        THE UNDERSIGNED, being all of the members of the Board of Managers (the
“Board”) of Tonopah Solar Energy, LLC, a Delaware limited liability company (the
“Company”), hereby consent that the actions recited herein shall be deemed the actions of
the Board with the same effect as if taken at a duly noticed and called meeting of the
Board, and direct that this writing be filed with the minutes of proceedings of the
Board—all pursuant to the provisions of the Third Amended and Restated Limited
Liability Company Agreement of the Company as of the date set forth below:

               WHEREAS, the Board has reviewed and considered the financial
       and operational condition of the Company and the Company’s business on
       the date hereof, including the historical and current performance of the
       Company, the assets and prospects of the Company, the current and long-
       term liabilities of the Company, the market for the Company’s assets, and
       credit market conditions, and fully considered the strategic alternatives
       available to the Company; and

               WHEREAS, the Board has received, reviewed and considered the
       recommendations of the senior management of the Company and the
       Company’s legal, financial and other advisors as to the relative risks and
       benefits of pursuing a reorganization case under the provisions of chapter
       11 of title 11 of the United States Code (the “Bankruptcy Code”); and

                WHEREAS, the Company has negotiated a restructuring
       transaction pursuant to which its outstanding prepared secured indebtedness
       owing to the U.S Department of Energy will be compromised and settled,
       its litigation with Cobra Thermosolar Plants, Inc. (“CPI”) will be settled,
       and CPI and Cobra Energy Investment, LLC or one of their affiliates
       (collectively, “Cobra”) shall own 100% of the Company upon completion;
       and

              WHEREAS, the Company intends to commence proceedings under
       chapter 11 of the Bankruptcy Code to pursue approval of the proposed pre-
       negotiated chapter 11 plan for the Company (the “Plan”).

              NOW, THEREFORE, BE IT:

       Restructuring Support Agreement

               RESOLVED, that, in the judgment of the Board, it is desirable and
       in the best interests of the Company, its creditors and other parties in
       interest, that the Company shall be, and hereby is, authorized to enter into
       and perform the restructuring transaction contemplated by the Restructuring
  Case 20-11884-KBO           Doc 1    Filed 07/30/20      Page 12 of 21


Support Agreement with Cobra, including the Plan attached as Exhibit A
thereto (the “RSA”), substantially in the form presented to the Board on or
in advance of the date hereof; and it is further

       RESOLVED, that each officer of the Company (each, an “Officer”
and collectively, the “Officers”) be, and each of them, acting alone or in
any combination, hereby is, authorized, directed and empowered, on behalf
of the Company, to execute, acknowledge, and deliver the RSA with such
changes, additions, and modifications thereto as an Officer executing the
same shall approve, such approval to be conclusively evidenced by an
Officer’s execution and delivery thereof; and it is further

Commencement and Prosecution of Bankruptcy Case

        RESOLVED, that, in the judgment of the Board, it is desirable and
in the best interests of the Company, its creditors, members and other
parties in interest that a voluntary petition (the “Petition”) be filed with the
United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) by the Company commencing a case (the “Chapter 11
Case”) under the provisions chapter 11 of the Bankruptcy Code; and it is
further

        RESOLVED, that, in the judgment of the Board, it is desirable and
in the best interests of the Company, its creditors and other parties in
interest, that the Company shall file propose and file with the Bankruptcy
Court, that certain Chapter 11 Plan for Tonopah Solar Energy, LLC (the
“Plan”), the disclosure statement related thereto (the “Disclosure
Statement¨), and the documents to be included in the Plan Supplement to
the Plan (the “Plan Supplement”), each substantially in the form presented
to the Board on or in advance of the date hereof; and it is further

        RESOLVED, that the Board hereby approves the Plan and the
transactions contemplated thereby; and it is further

        RESOLVED, that each Officer be, and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered, on
behalf of the Company, to execute, acknowledge, deliver, and verify the
Petition, the Plan, the Plan Supplement and the Disclosure Statement, and
to cause the same to be filed with the Bankruptcy Court at such time as
such Officer may determine; and it is further

        RESOLVED, that the Officers be, and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered on
behalf of the Company, to execute, acknowledge, deliver and verify and file
any and all petitions, schedules, statements of affairs, lists and other papers
and to take any and all related actions that such Officers may deem
necessary or proper in connection with the filing of the Petition and
commencement of the Chapter 11 Case (including the pursuit of
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Bankruptcy Court approval of the Disclosure Statement and the Plan); and
it is further

        RESOLVED, that the Officers be, and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered from
time to time in the name and on behalf of the Company, to perform the
obligations of the Company under the Bankruptcy Code, with all such
actions to be performed in such manner, and all such certificates,
instruments, guaranties, notices and documents to be executed and
delivered in such form, as the Officer performing or executing the same
shall approve, and the performance or execution thereof by such Officer
shall be conclusive evidence of the approval thereof by such Officer and by
the Company; and it is further

        RESOLVED, that the Officers be, and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered from
time to time in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file, record and perform
such agreements, instruments, motions, affidavits, applications for
approvals or rulings of governmental or regulatory authorities, certificates
or other documents, to pay all expenses, including filing fees, and to take
such other actions, as in the judgment of such Officers, shall be necessary,
proper and desirable to prosecute to a successful completion the Chapter 11
Case and to effectuate the restructuring or liquidation of the Company’s
debt, other obligations, organizational form and structure and ownership of
the Company, all consistent with the Plan and these resolutions and to carry
out and put into effect the purposes of these resolutions, and the
transactions contemplated by these resolutions, their authority thereunto to
be evidenced by the taking of such actions; and it is further

        RESOLVED, that, in the judgment of the Board, it is desirable and
in the best interests of the Company, its creditors and other parties in
interest, that the Company shall be, and hereby is, authorized to enter into
that certain Operation and Maintenance Agreement, by and between the
Company and Cobra Industrial Services, Inc., substantially in the form
presented to the Board on or in advance of the date hereof; and it is further

Retention of Professionals

       RESOLVED, that the law firm of Willkie Farr & Gallagher LLP
(“Willkie Farr”) be, and hereby is, authorized, directed and empowered to
represent the Company as bankruptcy counsel to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take
any and all actions to advance the Company’s rights, including the
preparation and filing of pleadings in the Chapter 11 Case; and in
connection therewith, the Officers be, and each of them, acting alone or in
any combination, hereby is, authorized, directed and empowered, on behalf
of and in the name of the Company to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the
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filing of the Chapter 11 Case, and to cause to be filed an appropriate
application for authority to retain the services of Willkie Farr; and it is
further

       RESOLVED, that the law firm of Young Conaway Stargatt &
Taylor, LLP (“Young Conaway”) be, and hereby is, authorized, directed
and empowered to represent the Company as bankruptcy counsel to
represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the
Company’s rights, including the preparation and filing of pleadings in its
Chapter 11 Case; and in connection therewith, the Officers be, and each of
them, acting alone or in any combination, hereby is, authorized, directed
and empowered, on behalf of and in the name of the Company to execute
appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and to cause to be filed
an appropriate application for authority to retain the services of Young
Conaway; and it is further

        RESOLVED, that FTI Consulting, Inc. (“FTI”) be, and hereby is,
authorized, directed and empowered to provide interim officers and
additional support personnel to, among other things, represent and assist the
Company in carrying out its duties under the Bankruptcy Code and to take
any and all actions to advance the Company’s rights and obligations in
connection with the Chapter 11 Case; and in connection therewith, the
Officers be, and each of them, acting alone or in any combination, hereby
is, authorized, directed, and empowered, on behalf of and in the name of the
Company, to execute appropriate retention agreements, pay appropriate
retainers, if required, prior to and immediately upon the filing of the
Chapter 11 Case, and to cause to be filed an appropriate motion or
application for authority to retain the services of FTI and it is further

         RESOLVED, that Houlihan Lokey, Inc. (“Houlihan”) be, and
hereby is, authorized, directed and empowered to represent and assist the
Company in connection with carrying out its duties under the Bankruptcy
Code and to take any and all actions to advance the Company’s rights and
obligations in connection with the Chapter 11 Case, as contemplated by the
engagement letter between the Company and Houlihan previously
presented to the Board (with such changes to such engagement letter as
previously described to the Board by Willkie Farr); and in connection
therewith, the Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of
and in the name of the Company, to execute appropriate retention
agreements, pay appropriate retainers, if required, prior to and immediately
upon the filing of the Chapter 11 Case, and to cause to be filed an
appropriate application for authority to retain the services of Houlihan; and
it is further

       RESOLVED, that Epiq Corporate Restructuring, LLC (“Epiq”) be,
and hereby is, authorized, directed and empowered to serve as the notice,
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claims, solicitation and balloting agent and administrative advisor in
connection with the Chapter 11 Case and assist the Company in carrying
out its duties under the Bankruptcy Code; and in connection therewith, the
Officers be, and each of them, acting alone or in any combination, hereby
is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate
retainers, if required, prior to and immediately upon the filing of the
Chapter 11 Case, and to cause to be filed an appropriate application for
authority to retain the services of Epiq; and it is further

        RESOLVED, that the Officers be, and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered, on
behalf of and in the name of the Company to employ any other individual
and/or firm as professionals, consultants, financial advisors, or investment
bankers to the Company as are deemed necessary to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and in
connection therewith, the Officers be, and each of them, acting alone or in
any combination, hereby is, authorized, directed and empowered, on behalf
of and in the name of the Company to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and to cause to be filed an appropriate
application for authority to retain the services of such firms; and it is further

        RESOLVED, that the Officers be, and each of them, acting alone
or in any combination, hereby is, with power of delegation, authorized,
empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection
therewith, to employ and retain all assistance by legal counsel, accountants,
financial advisors, and other professionals and to take and perform any and
all further acts and deeds that the Officers deem necessary, proper, or
desirable in connection with the Chapter 11 Case; and it is further

Use of Cash Collateral

        RESOLVED, that the Company, as debtor and debtor in possession
under the Bankruptcy Code be, and hereby is, authorized to negotiate,
execute, and deliver agreements for the use of cash collateral in connection
with the Chapter 11 Case, which agreement(s) may require the Company to
acknowledge the debt and liens of existing loans, grant liens, and pay
interest to the Company’s existing lender(s); and it is further

        RESOLVED, that the Officers, or any one of them, be, and each
hereby is, authorized and empowered, on behalf of and in the name of the
Company, to execute, deliver, verify and/or file, or cause to be executed,
delivered, verified and/or filed (or direct others to do so on their behalf as
provided herein) all necessary documents (including without limitation, all
petitions, affidavits, statements, schedules, motions, lists, applications,
pleadings and other papers) for use of cash collateral, including those
agreements that acknowledge the debt and liens of existing loans, grant
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liens, and pay interest to the Company’s existing lender(s), with such
changes therein and additions thereto as any such Officer, in his or her sole
discretion, may deem necessary, convenient, appropriate, advisable or
desirable, the execution and delivery of such document with any changes
thereto by the relevant Officer, to be conclusive evidence that such Officer
deemed such changes or additions to meet such standard, and in connection
with the Petition; and it is further

        RESOLVED, that each of the Officers be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, the
Company to take all such further actions, including, without limitation, to
pay or approve the payment of appropriate fees and expenses incurred by
or on behalf of the Company, which shall be necessary, proper, or
advisable to perform any of such Company’s obligations under or in
connection with the Exit Credit Facility Documents or any of the other
ancillary documents and the transactions contemplated therein and to carry
out fully the intent of the foregoing resolutions; and it is further

General Resolutions

        RESOLVED, that, in addition to the specific authorizations
heretofore conferred upon the Officers, each Officer (and his designees and
delegates) be, and hereby is, authorized and empowered, in the name of and
on behalf of the Company, to take or cause to be taken any and all such
other and further action, and to execute, acknowledge, deliver and file any
and all such agreements, certificates, instruments and other documents and
to pay all expenses, including but not limited to filing fees, in each case as in
such Officer’s (or his designees’ or delegates’) judgment, shall be necessary,
advisable or desirable in order to fully carry out the intent and accomplish
the purposes of the resolutions adopted herein; and it is further

         RESOLVED, that the Board has received sufficient notice of the
actions and transactions relating to the matters contemplated by the
foregoing resolutions, as may be required by the organizational documents
of the Company, or hereby waives any right to have received such notice;
and it is further

         RESOLVED, that all actions and transactions heretofore taken, and
all agreements, instruments, reports and documents executed, delivered or
filed through the date hereof, by any manager or Officer of the Company in,
for and on behalf of the Company, in connection with the matters described
in or contemplated by the foregoing resolutions, are hereby in all respects
approved, adopted, ratified and confirmed in all respects as the true acts and
deeds of the Company as of the date such action or actions were taken; and
it is further

       RESOLVED, that facsimile or photostatic copies of signatures to
this consent shall be deemed to be originals and may be relied on to the
same extent as the originals; and it is further
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        RESOLVED, that this unanimous written consent may be executed
in multiple counterparts, each of which shall be considered an original and
all of which shall constitute one and the same instrument.




                           * * * * *
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        IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
set forth below.

Date: July 28, 2020

                                            MANAGERS:



                                            Mark Manski




                                            Joseph Bondi




                                            Charles Reardon




                                            Anna Phillips




                [SIGNATURE PAGE TO CONSENT OF BOARD – TONOPAH SOLAR ENERGY, LLC]
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set forth below.

Date: July 28, 2020

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                                            Anna Phillips




                [SIGNATURE PAGE TO CONSENT OF BOARD – TONOPAH SOLAR ENERGY, LLC]
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